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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
www.flmb.uscourts.gov

IN RE: Chapter 11

ELLENBETH WACHS,

a/k/a ELLEN BETH WACHS, Case No: 8:21-bk-00470-RCT
Debtor(s). /

 

AFFIDAVIT AND FINANCIAL DISCLOSURE
IN SUPPORT OF DEBTOR'S APPLICATION TO
APPROVE THE EMPLOYMENT OF BUDDY D. FORD, P.A.

STATE OF FLORIDA
COUNTY OF HILLSBOROUGH

BEFORE ME, the undersigned authority, personally appeared BUDDY D. FORD,
ESQUIRE, who, being duly sworn, deposes and says:

1. Iam BUDDY D. FORD, ESQUIRE. I am an attorney employed by the law firm of
BUDDY D. FORD, P.A. lama member of the bar of the United States District Court for the Middle
District of Florida, as are all other attorneys with BUDDY D. FORD, P.A. (the “Law Firm”). My
Law Firm and I represent the Debtor(s) in this Chapter 11 bankruptcy case. It is anticipated that
BUDDY D. FORD, P.A., will staff this case using senior and junior attorneys, as well as paralegals,
depending upon the skill and experience required, the difficulty of the particular project, and the
client’s desires.

2. I make this affidavit in compliance with the provisions of 11 U.S.C. §§ 327(a), 328
and 329(a) of the Bankruptcy Code and F.R.B.P. 2014(a) and F.R.B.P. 2016(b).

3. Unless otherwise stated, this affidavit is based upon facts of which I have personal
knowledge.

4. In preparing this affidavit, I reviewed all documents produced by the Debtor,

including its creditor list, research conducted by this office, and the Debtor’s bankruptcy schedules
and lists that have been reviewed and approved by the Debtor and filed in this Court. I also
compared the information contained in those schedules and lists with the information contained in
my law firm's client and adverse party conflict check index system. The facts stated in this affidavit
as to the relationship between other lawyers in my law firm and the Debtor, the Debtor’s creditors,
other parties in interest, their respective attorneys and accountants, the United States Trustee, other
persons employed by the office of the United States Trustee, and those persons and entities who are

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defined as not disinterested persons in § 101(14) of the Bankruptcy Code are based upon the results
of my review of my Law Firm's conflict check index system.

5. My law firm's client and adverse party conflict check index system is comprised of
records regularly maintained in the course of business of the Law Firm, and it is the regular practice
of the Law Firm to make and maintain these records. It reflects entries that are noted in the system
at the time the information becomes known by persons whose regular duties include recording and
maintaining this information. I am one of the persons who keeps this system up-to-date, and I
regularly use and rely upon the information contained in the system in the performance of my duties
with the law firm and in my practice of law.

6. My Law Firm has not represented the Debtor during the past year. There were no fees
due as of the filing to my Law Firm.

7. No attorney in my Law Firms holds a direct or indirect equity interest in the Debtor
[including stock, stock warrants, a partnership interest in a Debtor partnership] or has a right to
acquire such an interest.

8. No attorney in the Law Firm is or has served as an officer, director, or employee of
the Debtor within two (2) years before the petition filing.

9. No attorney in the Law Firm is in control of the Debtor or is a relative of a general
partner, director, officer or person in control of the Debtor.

10. No attorney in the Law Firm is a general or limited partner of the partnership in which
the Debtor(s) is also a general or limited partner.

11. No attorney in the Law Firm is or has served as an officer, director, or employee of
a financial advisor that has been engaged by the Debtor in connection with the offer, sale, or issuance
of a security of the Debtor, within two (2) years before the filing of the petition.

12. No attorney in the Law Firm has represented a financial advisor of the Debtor in
connection with the offer, sale, or issuance of a security of the Debtor within three (3) years before
the filing of the petition.

13. No attorney in the Law Firm presently represents a creditor, general partner, lessor,
lessee, party to an executory contract of the Debtor, or person otherwise adverse or potentially
adverse to the Debtor or estate, on any matter, whether such representation is related or unrelated to
the Debtor or the estate.

14. No attorney in the Law Firm has previously represented a creditor, general partner,

lessor, lessee, party to an executory contract, or person who is otherwise adverse or potentially
adverse to the Debtor or the estate, on any matter substantially related to the bankruptcy case.

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15. No attorney in the Law Firm represents an insider of the Debtor or the Debtor’s
parent, subsidiary, or other affiliate.

16. No attorney in the Law Firm has been paid fees pre-petition or holds a security
interest, guarantee or other assurance of compensation for services performed and to be performed
in the case, except that BUDDY D. FORD, P.A. was contacted to advise the Debtor with respect to
various legal and financial issues. Accordingly, the Law Firm performed pre-petition legal services
for the Debtor prior to filing of the Chapter 11 Petition. All such services were performed in
connection with or were related to the filing of this case.

17. The terms of employment agreed to between the Debtor and BUDDY D. FORD, P.A.,
subject to approval of the Court, are that Debtor has agreed to compensate BUDDY D. FORD, P.A.,
on an hourly basis for services rendered at the standard hourly rates of the respective attorneys and
paralegals of BUDDY D. FORD, P.A., which rates range from $425.00 per hour for the services
rendered by Buddy D. Ford, $375.00/hour for services rendered by Senior associate attorneys,
$300.00/hour for services rendered by Junior associate attorneys, $150.00/hour for senior paralegal
services and $100.00/hour for junior paralegal services in the case and are subject to periodic
adjustment to reflect economic and other considerations. The Applicant further has agreed to
reimburse BUDDY D. FORD, P.A., for the actual and necessary expenses BUDDY D. FORD, P.A.,
incurs in connection with this representation that exceed the cost retainer.

18. Prior to the conversion, the Debtor paid $23,000.00 to Buddy D. Ford, P.A.., for the
following:

a. $20,000.00 post-filing fee/cost retainer;
b. $962.00 conversion fee; and
C. $2,038.00 as a cost retainer.

19. BUDDY D. FORD, P.A. will apply the advance fee to its periodic billings subject to
interim and final applications for compensation and approval by the Court, and, at an appropriate
time, BUDDY D. FORD, P.A., may make application for an award of additional compensation; and
the Debtor, subject to Court approval, shall be responsible for all fees and expenses incurred by
BUDDY D. FORD, P.A., after depletion of the advance fee, if any.

20. Counsel for the Debtor recognizes the Court will determine the reasonableness of fees
pursuant to the provisions of § 330 of the Bankruptcy Code.

21. There is no agreement of any nature, other than the partnership agreement of my Law
Firm, as to the sharing of any compensation to be paid to the Law Firm.

22. No attorney in the Law Firm has any other connection with the Debtor, creditors,
United States Trustee, or any employee of that office, or any other parties in interest.

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23. No attorney in the Law Firm has any other interest, direct or indirect, that may be
affected by the proposed representation.

24. The services rendered or to be rendered, include the following:

h.

Analysis of the financial situation, and rendering advice and assistance to the
Debtor in determining whether to file a petition under Title 11, United States
Code;

Advising the Debtor with regard to the powers and duties of the Debtor as
Debtor-in-Possession in the continued management of Debtor's financial
affairs; operation of Debtor's business; and/or management of the property of
the estate;

Preparation and filing of the petition, schedules of assets and liabilities, the
statement of financial affairs, and other documents required by the Court.

Representation of the Debtor at the § 341 Creditors’ meeting;

To give the Debtor legal advice with respect to Debtor's powers and duties
as Debtor and as Debtor-in Possession in the continued operation of Debtor's
business; management of property; and/or management of financial affairs;
if appropriate;

To advise the Debtor with respect to Debtor's responsibilities in complying
with the United States Trustee's Operating Guidelines and Reporting
Requirements and with the rules of the court;

To prepare, on the behalf of your Applicant, necessary motions, pleadings,
applications, answers, orders, complaints, and other legal papers and appear
at hearings thereon;

To protect the interest of the Debtor in all matters pending before the court;

To represent the Debtor in negotiation with its creditors in the preparation of
the Chapter 11 Plan; and

To perform all other legal services for Debtor as Debtor-in-Possession which
may be necessary herein.
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24. This concludes my affidavit.

BUDDY D. FORD, P.A.,

By: LoS :

BUDDY B. FORD, ESQUIRE

ay
SWORN to and SUBSCRIBED before me, this T= day of July, 2021, by BUDDY D.
FORD, ESQUIRE on behalf of BUDDY D. FORD, P.A. who is personally known to me and who
did take an oath.

NOTARY PUBLIC:

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State of Florida at Large (SEAL)

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cc: U.S. Trustee ost Pla, STACIA. BRUCE
Debtor(s) « Wing » Commission # HH 024903
a ‘= _ Expires August 8, 2024
Porn Bonded Thru Budget Notary Servings
